                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF WISCONSIN
                              MILWAUKEE DIVISION

MARY ANN OLSZWESKI, Individually and on ) Case No.: 17-cv-994
Behalf of All Others Similarly Situated, )
                                         ) DISCLOSURE STATEMENT
                                         )
               Plaintiff,                )
       vs.                               )
                                         )
TRIDENT ASSET MANAGEMENT, LLC, and )
ORION PORTFOLIO SERVICES, LLC,           )
                                         )
                                         )
               Defendants.               )

       The undersigned, counsel of record for Plaintiff, furnishes the following list in

compliance with Civil L. R. 7.1 and Fed. R. Civ. P. 7.1:

I.     MARYANN OLSZWESKI:

       1.      MARY ANN OLSZWESKI is a plaintiff.

       2.      MARY ANN OLSZWESKI is a natural person.

       3.      No other counsel is currently expected to appear for this plaintiff.

Respectfully submitted,

Dated: July 18, 2017                                 ADEMI & O’REILLY, LLP
                                                     /s/ John D. Blythin
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